                              Case 18-25201      Doc 31    Filed 01/18/19       Page 1 of 1
Entered: January 18th, 2019
Signed: January 18th, 2019

SO ORDERED




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Baltimore
                                    In re:   Case No.: 18−25201 − NVA       Chapter: 13

Evelyn Berlioz
Debtor

                     ORDER DENYING CONFIRMATION OF CHAPTER 13 PLAN
                                 WITH LEAVE TO AMEND
Having held a hearing on the Chapter 13 Plan proposed by the Debtor and having concluded that the proposed Plan
does not fulfill the requirements for confirmation set out in 11 U.S.C. § 1325, it is, by the United States Bankruptcy
Court for the District of Maryland,

ORDERED, that confirmation of the Chapter 13 Plan proposed by the Debtor is denied; and it is further

ORDERED, that the Debtor is granted leave to file an amended Plan on or before FEBRUARY 11, 2019 and it is
further

ORDERED, that if an Amended Plan is timely filed and served on all creditors and parties in interest, the hearing on
confirmation of the Amended Plan shall take place on MARCH 19, 2019 AT 2:00 PM IN Courtroom 2A of the
U.S. Bankruptcy Court, U.S. Courthouse, 101 West Lombard Street, Baltimore, Maryland 21201; and it is
further

ORDERED, that if an Amended Plan is timely filed, the Debtor/Counsel shall mail: (1) a copy of this Order,
and (2) the Amended Plan to all creditors and parties requesting notice, and shall file with the court a
certificate of service by the date set for filing the Amended Plan; and it is further

ORDERED, that if within the time granted for amendment the Debtor does not file an Amended Plan, or if this case
is not converted to a case under another chapter or voluntarily dismissed, then this case may be dismissed by the
Court pursuant to 11 U.S.C. § 1307(c)(5) without further notice or hearing.

cc:    Debtor

       Attorney for Debtor − David L. Ruben
       Case Trustee − Nancy Spencer Grigsby



                                                    End of Order
08x02a (rev. 04/17/2018) − bwolfe
